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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                v.                              :      Case No. 23-cr-160-RC
                                                :
DANIEL BALL,                                    :
                                                :
                        Defendant.              :


                 JOINT REPORT AND PROPOSED SCHEDULING ORDER

         On October 17, 2023, this Court directed the parties to “file a joint report with a proposed

scheduling order for the court’s review by 10/31/2023.” Minute Entry 10/17/2023. The parties met

telephonically on October 25, 2023, and have worked through details in the days following via

email.

   I.       Plea offered

         The government provided an offer of pretrial resolution on September 14, 2023. The offer

contained an expiration date of October 6, 2023, which was later extended to October 10, 2023.

The offer was not accepted. During the discussion by the parties, the defense indicated that the

sticking point of the potential offer related to count four, charging 18 U.S.C. § 844(h). The

defendant may seek a legal determination as to the charge as part of his Rule 12 motions to this

Court.

   II.      Trial

         Without a pretrial resolution of the case, the discussion moved to the logistics of the trial.

The parties believe that without any stipulations that a trial in this case would require two weeks

of presentment of the evidence. This includes approximately 16 government witnesses, an

undisclosed number of defense witness, and argument. There remains a dispute as to how much of

the trial can be by way of stipulation. The defendant wishes to proceed to a trial on the factual
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determination on count four; however, the government believes such a trial would still be as

extensive as one on all the counts. The parties will continue to discuss this possibility in the coming

weeks.

    III.         Pretrial Schedule

           Although the parties will continue to discuss how a trial will look in this case, there is no

reason to delay the case any further. The parties believe that the attached schedule will provide

sufficient time for each party to raise any legal issues prior to a trial and allow sufficient time to

prepare for the trial. The trial date has been left blank on the proposed order, but the parties request

June 17, 2024, as a trial start date.



           /s/                                                   /s/Adam M. Dreher

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